                 Case 5:24-cv-00838-FB-ESC Document 5 Filed 08/15/24 Page 1 of 1
AO 440 (Rev. 06/1

Civil ActioriNo                    SA24CAO838FB

                                                              PROOF OF SERVICE
                                iss    inn    ouint bfiled with the court unless required by Fed. R. Civ.
             summons for Block Equity Group, LLC                                                                           AU6 1
        recieved by me on 8/06/2024:                                                                          CLk.

                                      served the su         the individual at (place) on (date); or

                                                                                                                                               b
                 Ileft the summons at the individual's residence or usual place of abode with (name) , a person of suitable age and
                 discretion who resides there, on , and mailed a copy to the individual's last known address; or



                  served the summons on REPUBLIC REGISTERED AGENT SERVICES INC.,, who is designated by law to accept
                     I

                 service of process on behalf of Block Equity Group, LLC at 54 State St Ste 804, Albany, NY 12207 on 08/09/2024 at
                 12:15 PM; or

                         I   returned the summons unexecuted because; or

                 Other (specify)




         My fees are $ 0 for travel and $ 75.00 for services, for a total of $ 75.00.


         I   declare under penalty of perjury that this information is true.



Date:    08/09/2024



                                                                                                       Server's signature




                                                                                                      Francisco Cruz
                                                                                                      Printed name and title



                                                                                  526 Warren St.
                                                                                  Albany, NY 12208


                                                                                                        Seiver's address




         Additional information regarding attempted service, etc:

         I delivered the documents to REPUBLIC REGISTERED AGENT SERVICES INC., REGISTERED AGENT with identity

         confirmed by subject saying yes when named. The individual accepted service with direct delivery. The individual
         appeared to be a brown-haired Hispanic female contact 25-35 years of age, 5'6"-5'8" tall and weighing 140-160 lbs.




                                                                                                                         Ta ki         140029794

                                                                                                         1111111 11111   Iiiii'HiriIIi 11111       in   iiiii   tilt
